        Case 1:19-mc-00353-JMS-KJM Document 1-2 Filed 09/20/19 Page 1 of 2                                       PageID #: 7
                                                        CULPEPPER IP, LLLC
                                                                 ATTORNEY AT LAW
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KERRY S. CULPEPPER *                                             KAILUA-KONA, HI 96740

                                                                  TEL: (808) 464-4047
* ADMITTED TO PRACTICE IN VIRGINIA, HAWAI’I                       FAX: (202) 204-5181
 AND BEFORE THE USPTO
                                                                 www.culpepperip.com
                                                                       ____________

                                                            PATENTS, TRADEMARKS & COPYRIGHTS


                                                              September 20, 2019
                                                      VIA FIRST CLASS MAIL AND EMAIL
            Tonics Domain Corporation
            140 Jamaica St.
            Tiburon, CA 94920
            Exclusive Technologies Inc dba Register.TO <admin@register.to>

                                   Re: Copyright Claim of allegation of contributory copyright infringement on
                                   websites registered or affiliated with Tonics


            Dear Sirs:

                  A physical or electronic signature of the copyright owner, or a person authorized to act
            on behalf of the owner, of an exclusive copyright that has allegedly been infringed.


                        Kerry S. Culpepper authorized to act on behalf of owner Millennium Films.
                        /Kerry S. Culpepper/


                     Identification of the copyrighted work claimed to have been infringed, or, if multiple
            copyrighted works at a single online site are covered by a single notification, a representative
            list of such works on that site.


                         Infringement of the motion picture Angel Has Fallen at the websites:


            https://www11.fmovies.to/film/angel-has-fallen.1qr5v
            https://yesmovies.to/movie/angel-has-fallen-29216.html
            https://ibit.to/torrent/Angel-Has-Fallen-2019-720p-HDCAM-GETB8-o0oMKww/


                     Identification of the material that is claimed to be infringing or to be the subject of
            infringing activity and that is to be removed or access to which is to be disabled, and information
            reasonably sufficient to permit cloudflare.com to locate the material.


                        (1) streams of the motion picture Angel Has Fallen distributed at following web
                        domains/IP addresses.




                                                                 Exhibit "1"
Case 1:19-mc-00353-JMS-KJM Document 1-2 Filed 09/20/19 Page 2 of 2                       PageID #: 8
        Page 2

        yesmovies.to
        fmovies.to
        ibit.to


         Information reasonably sufficient to permit cloudflare.com to contact the Complaining
 Party, such as an address, telephone number, and, if available, an electronic mail address at
 which the Complaining Party may be contacted.
        Kerry S. Culpepper, Esq.,

        Culpepper IP, LLLC,

        75-170 Hualalai Road,

        Suite B204,

        Kailua-Kona, Hawaii 96740

        US Tel 1-808-464-4047
        kculpepper@culpepperip.com


       A statement that the Complaining Party has a good faith belief that use of the material in
 the manner complained of is not authorized by the copyright owner, its agent, or the law.


        I, have a good faith belief that use of the material in the manner complained of is not
 authorized by the copyright owner, its agent, or the law.


         A statement that the information in the notification is accurate, and under penalty of
 perjury, that the Complaining Party is the owner, or is authorized to act on behalf of the owner,
 of an exclusive right that is allegedly infringed.


         The information in the notification is accurate, and under penalty of perjury, I am
 authorized to act on behalf of the owners, Millennium Films of an exclusive right that is allegedly
 infringed.

                                                Sincerely,
                                                /ksc/

                                                Kerry S. Culpepper
